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                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

BERKELEY COUNTY SCHOOL             )                  Civil Action No.: 2:18-cv-00151-DCN
BOARD OF TRUSTEES,                 )
                                   )
                Plaintiff,         )
                                   )
            v.                     )                                ORDER
                                   )
HUB INTERNATIONAL LIMITED,         )
HUB INTERNATIONAL MIDWEST LIMITED, )
HUB INTERNATIONAL SOUTHEAST,       )
KNAUFF INSURANCE AGENCY, INC.,     )
STANLEY J. POKORNEY,               )
SCOTT POKORNEY, AND                )
BRANTLEY THOMAS,                   )
                                   )
                Defendants.        )
                                   )

       A Motion and Application/Affidavit for Admission Pro Hac Vice have been filed in this

case and considered by the undersigned.


IT IS ORDERED THAT:

Applicant: Thomas J. Wiegand who represents Defendants HUB International Limited and HUB
International Midwest Limited

       X      Be granted admission pro hac vice in this case.

       □      Be denied admission pro hac vice in this case.


                                           _______________________________________
                                           THE HONORABLE DAVID C. NORTON
                                           UNITED STATES DISTRICT JUDGE

February 20, 2018
Charleston, South Carolina
